






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-03-00622-CR







Nicholas James Marinos, Appellant



v.



The State of Texas, Appellee







FROM THE DISTRICT COURT OF TRAVIS COUNTY, 299TH JUDICIAL DISTRICT


NO. 9014001, HONORABLE JON N. WISSER, JUDGE PRESIDING






O R D E R


PER CURIAM

The reporter's record was originally due to be filed on February 9, 2004.  The court
reporter previously informed the Court that the record would be completed by May 14, 2004.  The
record has not been received.

The court reporter for the 299th District Court, Mr. Leon Justice, is ordered to file the
reporter's record no later than June 30, 2004.  No further extension of time will be granted.  See Tex.
R. App. P. 37.3(a)(2).

It is ordered June 15, 2004.


Before Chief Justice Law, Justices Patterson and Puryear

Do Not Publish


